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                                    No. 22-2839
                                 (CAPITAL CASE)


                    UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT


                           ROBERT WHARTON, Petitioner,

                                           v.

                       DONALD T. VAUGHN, Respondent.
              Appeal of The Philadelphia District Attorney’s Office,
                      Paul George, and Nancy Winkelman


  APPELLANTS’ RESPONSE TO MOTION OF COURT-APPOINTED
 AMICUS CURIAE AND PROPOSED AMICI LISA NEWMAN, PATRICE
       CARR, AND DR. DAVID “TONY” ANTONY HART FOR
ENLARGEMENT OF THE ORAL ARGUMENT TIME AND FOR LEAVE
  FOR PROPOSED AMICI TO PARTICIPATE IN ORAL ARGUMENT

      Appellants the Office of District Attorney (“DAO”), Nancy Winkelman, and

Paul George respectfully submit this Response to the Motion of Court-Appointed

Amicus Curiae and Proposed Amici Lisa Newman, Patrice Carr, and Dr. David

“Tony” Antony Hart for an Enlargement of the Oral Argument Time and for Leave for

Proposed Amici to Participate in Oral Argument (Dkt. No. 64), and state as follows:

      1.      On August 28, 2023, the Court notified counsel that oral argument in

this matter will occur on October 11, 2023. Appellants and Court-Appointed

Amicus were each allotted fifteen minutes of argument time, for a total of thirty

minutes. See Dkt. 54.
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       2.      On September 1, 2023, Court-Appointed Amicus and then-proposed

amici Lisa Newman, Patrice Carr, and Dr. David “Tony” Antony Hart (“Family

Amici”) filed a motion requesting leave to increase the total time allotted for oral

argument to 40 minutes and grant leave for Family Amici to participate in oral

argument with five minutes of argument time. Dkt. 64 (“Motion”).1

       3.      On the basis of the arguments presented in the Family Amici’s brief,

there is insufficient basis to grant the Motion. However, given the context of the

family’s request, Appellants do not state any opposition to the request.

 Dated: September 7, 2023
                                           Respectfully submitted,

 KAIRYS, RUDOVSKY,                         HANGLEY ARONCHICK SEGAL
 MESSING, FEINBERG & LIN                   PUDLIN & SCHILLER

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       1
        On September 5, 2023, the Court granted Family Amici’s August 21, 2023 motion to
proceed as amici on the merits. Dkt. 66.
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                        CERTIFICATE OF SERVICE

      I, John S. Summers, hereby certify that on September 7, 2023, I caused the

foregoing Response to the Motion of Court-Appointed Amicus Curiae and Proposed

Amici Lisa Newman, Patrice Carr, and Dr. David “Tony” Antony Hart for an

Enlargement of the Oral Argument Time and for Leave for Proposed Amici to

Participate in Oral Argument to be served on the following counsel of record via ECF:

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                                /s/ John S. Summers
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                               Attorney’s Office, Nancy Winkelman
                               and Paul George

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